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            EXHIBIT 39
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re                               )
                                    )                   Chapter 11
24 HOUR FITNESS WORLDWIDE, INC., et )
al.,                                )                   Case No.: 20-11558 (KBO)
                                    )
           Debtors.                 )                   (Jointly Administered)
                                    )
                                    )
24 HOUR FITNESS WORLDWIDE, INC.,    )
                                    )
           Plaintiff,               )
                                    )
v.                                  )
                                    )
CONTINENTAL CASUALTY COMPANY;       )                   Adv. Proc. No. 20-51051 (KBO)
ENDURANCE AMERICAN SPECIALTY        )
INSURANCE COMPANY; STARR SURPLUS )
LINES INSURANCE COMPANY; ALLIANZ )
GLOBAL RISKS US INSURANCE           )
COMPANY; LIBERTY MUTUAL             )
INSURANCE COMPANY; BEAZLEY-         )
LLOYD’S SYNDICATES 2623/623; ALLIED )
WORLD NATIONAL ASSURANCE            )
COMPANY; QBE SPECIALTY INSURANCE )
COMPANY; and GENERAL SECURITY       )
INDEMNITY COMPANY OF ARIZONA,       )
                                    )
           Defendants.              )
                                    )

           ENDURANCE AMERICAN INSURANCE COMPANY’S RESPONSE
              TO PLAINTIFF’S SECOND SET OF INTERROGATORIES
        Pursuant to Federal Rule of Civil Procedure 33, Defendant Endurance American Insurance

Company submits the following Response to Plaintiff’s Second Set of Interrogatories.




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                              RESPONSE TO INTERROGATORY

INTERROGATORY NO. 18: Please describe all facts concerning the purpose and origin of

Endurance’s “Communicable or Infectious Disease Exclusion” as set forth in Endorsement 4 of

Your Policy.


RESPONSE: Endurance American Specialty Insurance Company (“Endurance”) prepared the

Communicable or Infectious Disease Exclusion set forth in Endorsement 4 in Endurance Policy

no. GPR10009447903 (the “Endurance Policy”) in order to eliminate and exclude any obligation

to provide insurance coverage for and/or to cover any alleged losses, damages, claims,

occurrences, suits, or other demands arising out of or relating in any way to communicable or

infectious diseases (which would include COVID-19), conditions, or sicknesses, regardless of any

other—and in addition to any other—defenses to coverage that Endurance has or would have with

respect to any such alleged losses, damages, claims, occurrences, suits, or other demands.

Endurance has included the Communicable Disease Exclusion on several insurance policies it has

issued, and first included this exclusion on Plaintiff’s insurance program at issue in this adversary

proceeding in June 2019. This recitation of Endurance’s general intention in preparing the

Communicable or Infectious Disease Exclusion addressed in the response to this interrogatory is

without prejudice to the rights of Endurance in any other claim or suit. All such rights are

expressly reserved.




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Dated: May 4, 2022                              Respectfully submitted,

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                                                Insurance Company




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                               CERTIFICATE OF SERVICE

      I certify that I served this document on Plaintiff's counsel and all other counsel of record

by email on May 4, 2022.


                                                    /s/ James Bauer
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